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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                            BALTIMORE DIVISION
____________________________________
                                     )
UNITED STATES SECURITIES             )
AND EXCHANGE COMMISSION,             )
                                     )
            Plaintiff,               )
                                     )
      v.                             )    Case No. 03 CV 01042 MJG
                                     )
AGORA, INC. et al.                   )
            Defendants.              )
____________________________________)

           CERTIFICATION OF CONFERENCE ON MOTION TO COMPEL

       Pursuant to Rule 104.7 of the District of Maryland local rules, Plaintiff Securities

and Exchange Commission (“Commission”) hereby submits this Certification of

Conference on Motion to Compel.

       On March 25, 2004, the Commission served on the Defendants Plaintiff’s First

Set of Interrogatories as allowed by Federal Rule of Civil Procedure 33(a). On April 27,

2004, Defendants answered Plaintiff’s First Set of Interrogatories. Interrogatories 2, 4

and 5 requested identifying information on persons who requested or received a refund

after purchasing the USEC report, persons who received a copy of the Insider Tip Email

and persons who purchased a copy of the USEC report (collectively the

“Interrogatories”). Defendants objected to the Interrogatories arguing that the

Interrogatories were not relevant, were cumulative and burdensome, and that the

Interrogatories were privileged and/or protected by the First Amendment of the U.S.

Constitution.
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       On May 13, 2004, the Commission served on the Defendants a Motion to Compel

and Memorandum in Support of Motion to Compel requesting the Defendants answer

Interrogatories 2, 4, and 5. On June 1, 2004, Defendants filed their opposition to the

Commission’s Motion to Compel. On June 14, 2004, the Commission filed its Reply

Memorandum in Support of Motion to Compel.

       As outlined in the Commission’s Memorandum in Support of Motion to Compel,

Counsel for both parties attempted to resolve this issue before the Commission filed its

Motion to Compel. Additionally, Karen Martinez counsel for the Commission and Marie

Elliott, paralegal specialist for the Commission, met with Matt Turner, in house counsel

for Agora, Inc. and Bruce Brown of Baker & Hostetler on June 22, 2004 in an attempt to

reach an agreement in this matter. Karen Martinez and Marie Elliott meet again with

Matt Turner on June 30, 2004. Despite these efforts, counsel has been unable to resolve

this discovery dispute and all issues as outlined in the Commission’s Memorandum in

Support of Motion to Compel remain.

       The Commission therefore, respectfully submits its Motion to Compel to the

Court so that the Court may resolve this dispute.

       Dated this 2nd day of July 2004.



                                      By: __________/s/ Karen L. Martinez______

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